




NO. 07-07-0483-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



DECEMBER 13, 2007

______________________________



DAVID E. FLOWERS, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE

_________________________________



FROM THE CRIMINAL DISTRICT COURT OF JEFFERSON COUNTY;



NO. 95122; HONORABLE CHARLES D. CARVER, JUDGE

_______________________________





Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.

MEMORANDUM OPINION

 &nbsp;Appellant David E. Flowers filed a document with this Court on November 28, 2007, entitled “Petition for Acquittal and Arrest of Judgment Review,” which, as we read the document, raises issues in connection with his conviction and sentencing in a district court of Jefferson County. &nbsp;The document references cause number 95122 in the Criminal District Court of Jefferson County, and recites that appellant also has an appeal from the judgment pending in the Ninth Court of Appeals, filed in September 2007. &nbsp;

This Court’s appellate jurisdiction generally is limited to cases appealed from trial courts in our court of appeals district. &nbsp;Tex. Gov’t Code Ann. § 22.201 (Vernon 2004). &nbsp;We see no basis for jurisdiction over appeal of appellant’s Jefferson County conviction.

Appellant’s petition filed in this Court refers to Rule 17.1 of the Texas Rules of Appellate Procedure, dealing with instances in which a court of appeals is unable to take immediate action, and Rule 17.2, providing for action by “the nearest court of appeals that is able to take immediate action.” &nbsp;Tex. R. App. P. 17.1, 17.2. &nbsp;Appellant appears to contend that the rule has application here. &nbsp;Based on the statements in appellant’s petition, we disagree that Rule 17 of the appellate rules has application in the circumstances described. &nbsp;In addition, appellant provides no explanation how, given the great distance between Beaumont and Amarillo, this Court could be considered the nearest available court of appeals.

Finally, we take judicial notice of the opinion delivered November 28, 2007, by the Ninth Court of Appeals, disposing of appellant’s appeal from the trial court cause number referenced in the document filed in this Court. &nbsp;
Flowers v. State
, No. 09-07-0489-CR, 2007 WL 4208754 (Tex.App.–Beaumont, November 28, 2007) (memo. op.) (not selected for publication). The issuance of that opinion would appear to render moot the issues appellant attempts to raise here.





For these reasons, we find we lack jurisdiction over appellant’s attempted appeal. &nbsp;Accordingly, it is dismissed.



James T. Campbell

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice











Do not publish.


